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 1   ALEX R. KESSEL (State Bar No. 110715)
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 2   Suite 1208
     Encino, California 91436-2746
 3   Telephone: (818) 995-1422
     Facsimile: (818) 788-9408
 4
 5   Attorney for Defendant
     NAM PHAMTRAN
 6
 7
                                     UNITED STATES DISTRICT COURT
 8
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                        )   CASE NO.: 2:05-CR-542-GEB
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                              Plaintiff,              )   STIPULATION RE: PERMISSION
12                                                    )   FOR DEFENDANT TO LEAVE
     vs.                                              )   EASTERN DISTRICT JURISDICTION;
13                                                    )   ORDER THEREON
     NAM PHAMTRAN,                                    )
14                                                    )
                              Defendant.              )
15                                                    )
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              IT IS HEREBY STIPULATED, by and between plaintiff, the UNITED STATES OF
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     AMERICA, and defendant NAM PHAMTRAN, through his counsel of record that:
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              1.    Defendant Nam Phamtran be permitted to leave the jurisdiction of the Eastern District
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     for a family visit in San Francisco, California, from January 28, 2011, to January 31, 2011, for a
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     period of four days;
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              2.    Defendant Nam Phamtran, upon arriving in San Francisco, California shall contact
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     his pretrial services officer and advise them of the defendant's location of residence and telephone
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     number in San Francisco, California ; and
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              3.    Defendant Nam Phamtran, upon return to his place of residence in the Eastern
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     District shall contact his pretrial services officer and advise them of defendant’s return from San
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     Francisco, California.
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     ///
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     ///

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       Case 2:05-cr-00542-GEB Document 228 Filed 01/28/11 Page 2 of 2


 1   DATED: January 28, 2011
 2
 3                                                 /S/ Alex R. Kessel
                                               ALEX R. KESSEL
 4                                             Attorney for Defendant,
                                               NAM PHAMTRAM
 5
 6   DATED: January 28, 2011
 7
 8
                                                      /S/ Matthew Stegman
 9                                             MATTHEW STEGMAN
                                               Assistant United States Attorney
10                                             for Plaintiff, UNITED STATES OF AMERICA
11
                                        ORDER
12
           GOOD CAUSE APPEARING, IT IS SO ORDERED.
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14
     Dated: January 28, 2011
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                                      GARLAND E. BURRELL, JR.
17                                    United States District Judge

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